
43 So.3d 956 (2010)
Nehemiah ROBERTSON, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-4324.
District Court of Appeal of Florida, First District.
September 16, 2010.
Matt Shirk, Public Defender, Fourth Judicial Circuit, and Richard B. Gordon, Assistant Public Defender, Jacksonville, for Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on June 24, 2009, in Duval County Circuit Court case number 2009-1961-CFA, is granted. Upon issuance of mandate in this cause, a copy of this opinion shall be furnished to the circuit court for treatment as a notice of appeal in accordance with Florida Rule of Appellate Procedure 9.141(c)(5)(D). The court notes that the public defender has been appointed to represent petitioner in the belated appeal authorized by this opinion.
HAWKES, C.J., WEBSTER and PADOVANO, JJ., concur.
